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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

Donna K. Peppers,                                )             C/A No. 0:20-326-PJG
                                                 )
                               Plaintiff,        )
                                                 )                    ORDER
       v.                                        )
                                                 )
Andrew Saul, Commissioner of Social              )
Security Administration,                         )
                                                 )
                               Defendant.        )
                                                 )

       This matter is before the court on Plaintiff’s Petition for Attorney’s Fees pursuant to the

Equal Access to Justice Act (“EAJA”). (ECF No. 39); see 28 U.S.C. § 2412. The parties filed a

joint stipulation on December 10, 2020 notifying the court that the parties had agreed to a

compromise settlement in which Defendant agrees to pay Plaintiff $9,950.00 in attorney’s fees.

       The court has reviewed the stipulation and finds the compromise settlement reasonable.

Accordingly, it is

       ORDERED that the Plaintiff’s request for attorney’s fees pursuant to the EAJA be granted

in the amount of $9,950.00. EAJA fees awarded by this court belong to the Plaintiff and are subject

to offset under the Treasury Offset Program (31 U.S.C. § 3716(c)(3)(B) (2006)). In the event

Plaintiff has no present debt subject to offset and Plaintiff has executed a proper assignment to

Plaintiff’s counsel, Defendant is directed to make the payment due to Plaintiff’s counsel. If

Plaintiff has no debt subject to offset and no proper assignment has been made by Plaintiff to

counsel, Defendant is directed to make the check due pursuant to this Order payable to Plaintiff

and delivered to Plaintiff’s counsel.




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      IT IS SO ORDERED.

                                      __________________________________________
January 11, 2021                      Paige J. Gossett
Columbia, South Carolina              UNITED STATES MAGISTRATE JUDGE




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